                                                                                    NORTH CAROLINA WESTERN
                                                                                             MEMORANDUM
      Date: June 18, 2014

        To: The Honorable Martin Reidinger
            United States District Court Judge

     From: Valerie G. Debnam
           United States Probation Officer

   Subject: Johnny Howie
            Case No. 3:08CR00131-001
            Out of Country Travel Request



Mr. Howie appeared before Your Honor on June 30, 2009, and was sentenced in the Western District of North
Carolina for Conspiracy to Possess with Intent to Distribute Cocaine and Cocaine Base, in violation of 21
U.S.C. 846, 841 (b)(1)(B) and 851. Mr. Howie was sentenced to 57 months custody, to be followed by a 4-
year term of supervised release. During his term of incarceration, Mr. Howie completed the Federal Bureau of
Prison’s Residential Drug Abuse Program, as well transitional services.

On November 27, 2012, Mr. Howie released from custody and began his 4-year term of supervised release in
the Northern District of Texas. According to Senior United States Probation Officer Stephanie Roper, Northern
District of Texas, Mr. Howie has paid the $100 special assessment in full. Upon release, Mr. Howie has
maintained employment as a driver for United Site Services.

Senior Probation Officer Roper advised that his substance abuse treatment and testing conditions have been
satisfied. Since his release from custody, Mr. Howie has submitted 30 urine specimens, all of which have
returned negative for the presence of controlled substances.

He continues to reside with his wife of 10 years and he has had no negative contact with law enforcement. Mr.
Howie is a low risk offender and has exhibited a positive attitude and has abided by the conditions or
supervision during his term of supervised release. Mr. Howie is requesting permission to travel with his wife on
a cruise from July 13, 2014 to July 20, 2014, to celebrate their 10 year wedding anniversary. The cruise
departs from Galveston, Texas, and will be stopping at the port in Isla Roatan, and Cozumel, Mexico. United
States Probation Officer Roper reported that she has no concerns with Mr. Howie travelling out of the country
and respectfully requests permission for Mr. Howie to travel out of the country.

It is recommended that Mr. Howie be allowed to travel to the above listed ports as long as he remains in
compliance with the terms and conditions of supervision.

Thank you for your attention to this matter, and should Your Honor have any questions, please contact my
office at 704-350-6656.

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( X)   Permission to Travel Approved

( )    Permission to Travel Denied

( )    Other



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Date




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